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  Attorney for Lead Plaintiff and Liaison Counsel for the Class



                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


  RANDY SMITH, Individually and on Behalf             Case No. 3: 17-cv-08945 (MAS) (DEA)
  of All Others Similarly Situated,

                        Plaintiff,                    CERTIFICATION OF JEREMY A.
                                                      LIEBERMAN IN SUPPORT OF
                  v.                                  APPLICATION FOR ADMISSION PRO
                                                      HAC VICE
  ANTARES PHARMA, INC., ROBERT F.
  APPLE and FRED M. POWELL,

                         Defendants.


  JEREMY A. LIEBERMAN, of full age, hereby certifies as follows:

           1.     I am a partner with the firm of Pomerantz LLP, located at 600 Third Avenue,

  New York, NY 10016, co-counsel for Lead Plaintiff, Serghei Lungu in the above-captioned

  matter. I make this certification on my personal knowledge in support of Lead Plaintiff's

  application to have me admitted pro hac vice.

           2.     I am a member in good standing of the bars of the State of New York (admitted

  2003); the United States District Court for the Eastern District of New York (admitted 2006); the

  United States District Court for the Southern District of New York (admitted 2006); the United

  States District Court for the Northern District of Illinois (admitted 2012); the United States




  {00288666;1 }                                   1
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  District Court for the Southern District of Texas (admitted 2013); the United States District

  Court for the District of Colorado (admitted 2014); the United States District Court for the

  Eastern District of Michigan (admitted 2014); the United States Court of Appeals for the Second

  Circuit (admitted 2009); the United States Court of Appeals for the Third Circuit (admitted

  2014); the United States Court of Appeals for the Fourth Circuit (admitted 2015); the United

  States Court of Appeals for the Sixth Circuit (admitted 2015); the United States Court of Appeals

  for the Ninth Circuit (admitted 2011); United States Court of Appeals for the Tenth Circuit

  (admitted 2014); and The Supreme Court of the United States of America (admitted 2017). The

  names and addresses of the offices maintaining the roll of members of the bar in these

 jurisdictions are as follows:


  New York                                           United States District Court for the Eastern
  Second Judicial Department                         District of New York
  45 Monroe Place                                    Brooklyn Courthouse
  Brooklyn, New York 11201                           225 Cadman Plaza East
                                                     Brooklyn, New York 11201

 United States District Court for the                United States District Court for the
 Southern District of New York                       Northern District of Illinois
 Clerk of the Court                                  219 S. Dearborn Street
 Daniel Patrick Moynihan U.S. Courthouse             Chicago, Illinois 60604
 500 Pearl Street
 New York, New York 10007

  United States District Court for the               United States District Court for the District
  Southern District of Texas                         of Colorado
  515 Rusk Avenue                                    901 19th Street
  Houston, Texas 77002                               Denver, Colorado 80294

 United States District Court for the                United States Court of Appeals for the
 Eastern District of Michigan                        Second Circuit
 231 West Lafayette Boulevard                        Thurgood Marshall U.S. Courthouse
 Detroit, Michigan 48226                             40 Foley Square
                                                     New York, New York 10007




  {00288666; 1 }                                 2
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 United States Court of Appeals                        United States Court of Appeals for the
 for the Third Circuit                                 Fourth Circuit
 601 Market Street                                     1100 East Main Street, Suite 501
 Philadelphia, Pennsylvania 19106                      Richmond, Virginia 23219

 United States Court of Appeals                        United States Courts of Appeals for the
 for the Sixth Circuit                                 Ninth Circuit
 100 East Fifth Street                                 95 7th Street
 Cincinnati, Ohio 45202                                San Francisco, California 94103

 United States Court of Appeals                        Supreme Court of the United States of
 for the Tenth Circuit                                 America
 1823 Stout Street                                     1 First Street, NE
 Denver, Colorado 80257                                Washington, DC 20543


           3.     I am not under suspension, nor have I ever been suspended or disbarred from any

 court. No disciplinary proceedings are pending against me and no discipline has been previously

 imposed upon me in any jurisdiction. I am fully familiar with the facts of this case.

           4.     I am conversant with the Local Civil Rules of the United States District Court for

 the District of New Jersey, and will abide by those Rules.

           5.     Upon entry of the requested order, payment in the appropriate amount will be

 forwarded to the New Jersey Lawyers' Fund for Client Protection as provided by New Jersey

 Court Rule 1:28-2(a).

           6.     In accordance with Local Civil Rule 101.1 (c)(3), upon entry of the requested

 order, payment in the amount of $150.00 will be forwarded to the Clerk, United States District

 Court.

           7.     I understand that in accordance with Local Civil Rule 101.1 (c)( 5), a lawyer

 admitted pro hac vice is within the disciplinary jurisdiction of this Court. I agree to comply with

 the requirements of Local Civil Rule 101.1 (c). I agree to take no fee in any tort case in excess of

 New Jersey Court Rule 1:21-7 governing contingent fees.




 {00288666; 1 }                                    3
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           8.     The firm of Lite DePalma Greenberg, LLC of Newark, New Jersey has agreed to

 work with my firm in this action.

           9.     I respectfully request that this Court grant Lead Plaintiff s application to have me

 admitted pro hac vice for all purposes in this matter, including trial.

           I certify that the foregoing statements made by me are true. I am aware that if any of the

 foregoing statements are willfully false I am subject to punishment.


 Dated: Jut.. y 31                       ~
                                  , 20-/ -




 {00288666; 1 }                                     4
